       Case 4:09-cv-02508 Document 28 Filed in TXSD on 08/04/11 Page 1 of 2




                     TNTHE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

KIMBERLY MIEDEMA,                          $
                                           $
     Plaintiff                             $
                                           $
V.                                         $        CIVIL ACTION No. 4:09-CV-02508
                                           $
FACILITY CONCESSION                        $
SERVICES INC. D IB I A SPECTRUM,           $
                                           $
     Defendant                             $



                        PLAINTIFF'S NOTICE OF APPBAL
       Notice is hereby given that KIMBERLY MIEDEMA, Plaintiffin the above named

case, hereby appeals to the United States Court of Appeats for the   Fifth Circuit from the

final judgment entered in this action on the 1lft day of April, 2011, and the Memorandum

and Order Denying the Motion to Alter Judgment entered on July 7,2011.

                                        Respectfu   lly submitted,

                                                             wlMI

                                                             -.[,
                                        w.
                                        State Bar No. 00789675
                                        Federal I.D. No. 18250
                                        28418 Jonsport Lane
                                        Spring, Texas 77386
                                        Telephone : (7 13) 582-2997
                                        Facsimile: (832) 550-2860

                                        ATTORNEY FOR PLAINTIFF
      Case 4:09-cv-02508 Document 28 Filed in TXSD on 08/04/11 Page 2 of 2



Of Counsel;

CraigK. Ribbeck
The Ribbeck Law Finn , PLLC
6363 Woodwayo Suite 565
Houston, Texas 77057
Telephone : (7 13) 621-5220
Facsimile: (713) 572-1507

                              CERTTFTCATE, OF SERVTCE

       I hereby certi$ that a true and correct copy of the foregoing instrument was served
on the following counsel of record via facsimile on August 4,2011:

      Mr. Gregg Brown                                         512-172-0721
      Germer Gertz Beaman & Brown LLP
      301 Congress Avenue, Suite 1700
      Austin, Texas 78701

      Mr. Stephen W. Schueler                                  713-650-2400
      Winstead, P.C.
      1100 JPMorgan Chase Tower
      600 Travis Street
      Houston, TX77A02


                                           W. MICHAEL TAYLOR
